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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
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     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   SAMNEUK BUNMA
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             No. 1:06-cr-00313 LJO
                                           )
12                     Plaintiff,          )            STIPULATION TO CONTINUE SENTENCING
                                           )            AND
13         v.                              )            ORDER THEREON
                                           )
14   SAMNEUK BUNMA, et al.,                )             Date:    May 7, 2010
                                           )             Time:    9:00 a.m.
15                     Defendants.         )             Judge:   Hon. Lawrence J. O’Neill
                                           )
16   _____________________________________ )
17            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, KATHLEEN A. SERVATIUS, Assistant United States Attorney, and ERIC V. KERSTEN,
19   Assistant Federal Defender, counsel for Defendant Samneuk Bunma, that the date for sentencing may be
20   continued to May 7, 2010, or the soonest date thereafter that is convenient to the court. The date
21   currently set for sentencing is April 23, 2010. The requested new date is May 7, 2010.
22            Mr. Bunma is out of custody. He has entered a plea agreement and is awaiting sentencing. It is
23   anticipated that Mr. Bunma will be remanded at the time of sentencing. A co-defendant in the case,
24   Keoun San, is currently scheduled for sentencing on the requested date of May 7, 2010.
25            Mr. Bunma has been out of custody throughout the extended proceedings in this matter. He has
26   had no problems while on pre-trial supervision. Mr. Bunma, his wife, and their seven month old daughter
27   have been sharing a residence with relatives who are relocating. After Bunma is incarcerated, his wife will
28   not be afford the rent on her own. Mr. Bunma is requesting a short continuance to allow him to help his
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 1   wife and daughter move to a new residence at the end of the month.
 2             The parties agree that the delay resulting from the continuance shall be excluded as necessary for
 3   effective defense preparation, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv). For this reason, the ends of
 4   justice served by the granting of the requested continuance outweigh the interests of the public and the
 5   defendants in a speedy trial.
 6
 7                                                            BENJAMIN B. WAGNER
                                                              United States Attorney
 8
 9             DATED: April 5, 2010                        By /s/ Kathleen A. Servatius
                                                              KATHLEEN A. SERVATIUS
10                                                            Assistant United States Attorney
                                                              Attorney for Plaintiff
11
12
13                                                            DANIEL J. BRODERICK
                                                              Federal Defender
14
15             DATED: April 5, 2010                        By /s/ Eric V. Kersten
                                                             ERIC V. KERSTEN
16                                                           Assistant Federal Defender
                                                             Attorney for Defendant
17                                                           Samneuk Bunma
18
19
20                                                         ORDER
21             The intervening period of delay is excluded in the interests of justice pursuant to 18 U.S.C. §
22   3161(h)(8)(B)(iv). NO FURTHER CONTINUANCES.
23
                                                              IT IS SO ORDERED.
24
     Dated:      April 6, 2010                             /s/ Lawrence J. O'Neill
25   b9ed48                                            UNITED STATES DISTRICT JUDGE
26
27
28


     Bunma: Stipulation to Continue Sentencing and Order      2
